                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    DANVILLE DIVISION


  UNITED STATES OF AMERICA,                     )
                                                )
  v.                                            )        Case No.4:18CR00012
                                                )
  JALEN CORMARRIUS TERRY,                       )
                                                )
         Defendant.                             )


                        DEFENDANT JALEN CORMARRIUS TERRY’S
                         UNOPPOSED MOTION FOR RELIEF FROM
                         FOURTH AMENDED SCHEDULING ORDER

         Now comes Jalen Cormarrius Terry (“Terry”) by his appointed counsel and moves the

  Court to extend the filings deadlines and proceedings enumerated below which are set in the

  Court’s Fourth Amended Scheduling Order of December 5, 2019 (Document 509):

         1.      The December 27, 2019 deadline for filing motions to be heard at the hearing

  scheduled for January 17, 2020.

         2.      The December 31, 2019, deadline for the government to supplement its discovery

  production and identify its case-in-chief witnesses.

         3.      The January 10, 2020, deadline for filing responses to any motions filed by

  opposing parties.

         4.      The January 17, 2020, motions hearing.

         Terry’s counsel is authorized to represent that this Motion for Relief from the Fourth

  Amended Scheduling Order rests on the grounds that follow:




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         1.      The parties are engaged actively in discussions with respect to both criminal

  liability and potential punishment for the charges set out in the Indictment. While discussions are

  underway, the parties have agreed to refrain from filing substantive motions.

         2.      Counsel for the other remaining defendants and the government join Terry’s

  counsel in asking that the four dates listed above be reset by the Court for dates on or after February

  1, 2020.

         Wherefore, Defendant Jalen Cormarrius Terry, with the concurrence of all other parties,

  respectfully requests that the Court grant limited relief from the Fourth Amended Scheduling Order

  by

         A.      Postponing the pre-trial motions hearing currently scheduled for January 17, 2020,

  until after February 1, 2020;

         B.      Fixing a new deadline on or after February 1, 2020, by which the government must

  supplement its discovery production and identify its case-in-chief witnesses; and

         C.      Fixing new deadlines on or after February 1, 2020, by which the parties must file

  pre-hearing motions and responses in opposition to any such motions.

                                                 JALEN CORMARRIUS TERRY



                                                 By: s/Paul G. Beers
                                                       Of Counsel




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  Counsel for Jalen Cormarrius Terry



                                       Certificate of Service
         I hereby certify that on December 20, 2019, I electronically filed the foregoing Defendant

  Jalen Cormarrius Terry’s Unopposed Motion for Relief from the Fourth Amended Scheduling

  Order with the Clerk of the Court using the CM/ECF system which will send notification of such

  filing to all counsel of record.



                                              s/Paul G. Beers
                                              Paul G. Beers




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